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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA



THE PRUDENTIAL INSURANCE
COMPANY OF AMERICA, AND
HARTFORD LIFE AND ANNUITY                               CASE NO. 8:14-cv-42
INSURANCE COMPANY,

                 Plaintiff,
                                                    COMPLAINT IN INTERPLEADER
v.

SUSAN C. PETERS, FIVE POINTS
BANK, as TRUSTEE OF THE MAXINE
BIELFELDT TRUST, and DAWN M.
STANGE,

                 Defendants.


       Plaintiffs, The Prudential Insurance Company of America ("Prudential") and

Hartford Life and Annuity Insurance Company ("Hartford") (collectively referred to as the

"Plaintiffs"), by and through their undersigned counsel, for their Complaint in

Interpleader, allege the following:

                                         PARTIES

       1.        Prudential is an insurance company organized and existing under the laws

of the State of New Jersey with its principal place of business in New Jersey. Prudential

is duly authorized to do business in the State of Nebraska.

       2.        Hartford is an insurance company organized and existing under the laws

of the State of Connecticut with its principal place of business in Connecticut. Hartford

is duly authorized to do business in the State of Nebraska.

       3.        Upon information and belief, Maxine A. Bielfeldt (the "Insured") was a

resident of Lincoln, Nebraska.


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        4.        Upon information and belief, Susan C. Peters ("Susan Peters") is the

Insured’s niece and a resident and citizen of Lincoln, Nebraska.

        5.        Upon information and belief, Five Points Bank, the Trustee of the Maxine

Bielfeldt Trust (the "Trust"), is a domestic bank chartered by the state of Nebraska and

registered as such with the Nebraska Secretary of State.

        6.        Upon information and belief, Dawn M. Stange ("Dawn Stange") is the

Insured’s granddaughter and a resident and citizen of Norfolk, Nebraska.

                                 JURISDICTION AND VENUE

        7.        This Court has jurisdiction under 28 U.S. C. § 1332, in that the parties are

of diverse citizenship and the amount in controversy exceeds $75,000.00. Prudential is

a New Jersey citizen for diversity purposes, Hartford is a Connecticut citizen for

diversity purposes, and upon information and belief, the defendants are citizens of

Nebraska.

        8.        Venue is proper in this federal district pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claim occurred in

this district. Venue is also proper in this Court pursuant to 28 U.S.C. § 1397 because

one or more of the claimants resides in this judicial district.

                           CAUSE OF ACTION IN INTERPLEADER

        9.        This is an action for interpleader under Federal Rule of Civil Procedure 22,

and for related declaratory and injunctive relief, regarding competing claims to the

proceeds of a life insurance policy issued by Hartford.

        10.       On or about October 10, 2002, Hartford issued individual life insurance

policy number VL 93 299 98 (the "Policy") to the Insured, which provided coverage on

the life of the Insured.

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        11.       Prudential subsequently became the administrator of the Policy.

        12.       By Change of Beneficiary form dated February 21, 2006, the Insured

designated Dawn Stange and the Trust as co-Primary Beneficiaries to the Policy, each

entitled to 50% of the Policy benefits.       A true and correct copy of the Change of

Beneficiary form dated February 21, 2006 is attached hereto as Exhibit A.

        13.       By Change of Beneficiary form dated July 16, 2008, the Insured

designated Dawn Stange as sole Primary Beneficiary to the Policy, entitled to 100% of

the Policy benefits. A true and correct copy of the Change of Beneficiary form dated

July 16, 2008, is attached hereto as Exhibit B.

        14.       By Change of Beneficiary form dated February 10, 2010, the Insured

designated Susan Peters as sole Primary Beneficiary to the Policy, entitled to 100% of

the Policy benefits. A true and correct copy of the Change of Beneficiary form dated

February 10, 2010, is attached hereto as Exhibit C.

        15.       By Change of Beneficiary form dated February 25, 2010, the Insured

designated Susan Peters and the Trust as co-Primary Beneficiaries to the Policy, each

entitled to 50% of the Policy benefits.       A true and correct copy of the Change of

Beneficiary form dated February 25, 2010, is attached hereto as Exhibit D.

        16.       On or about December 7, 2011, ownership of the Policy was transferred to

Five Points Bank, as Conservator of Maxine Bielfeldt.

        17.       Upon information and belief, the Insured died on August 26, 2013. A true

and correct copy of the Insured’s Certificate of Death is attached hereto as Exhibit E.




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        18.       As a result of the death of the Insured, Policy benefits in the amount of

$451,686.50 (the "Death Benefit") became payable to a beneficiary or beneficiaries and

liability is conceded to that effect.

        19.       By letter dated September 12, 2013, Five Bank Points, through Trust

Officer Theresa Starkey, informed the Hartford that the Policy’s beneficiaries of record

at the time of the Insured’s death may be disputed. A true and correct copy of the letter

dated September 12, 2013, is attached hereto as Exhibit F.

        20.       By letter dated October 21, 2013, Dawn Stange, through counsel,

asserted a claim to the Death Benefit, alleging that there may have been fraud or undue

influence exerted by Susan Peters in connection with the most recent beneficiary

designations. A true and correct copy of the letter dated October 21, 2013, is attached

hereto as Exhibit G.

        21.       There have been no other claims for the Death Benefit.           Under the

circumstances, Plaintiffs cannot determine factually or legally who is entitled to the

Death Benefit.        By reason of the actual or potential claims of the interpleading

defendants, Plaintiffs are or may be exposed to multiple liability.

        22.       Plaintiffs are ready, willing and able to distribute the Death Benefit, plus

applicable claim interest, if any, payable in accordance with the terms of the Policy to

whomever this Court shall designate.

        23.       As mere stakeholders, Plaintiffs have no interest (except to recover their

attorneys’ fees and cost of this action) in the Death Benefit payable and respectfully

request that this Court determine to whom said benefits should be paid.




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        24.       Plaintiffs accordingly will deposit with the Registry of the Court the Death

Benefit, plus applicable claim interest, if any, for disbursement in accordance with the

judgment of this Court.

        25.       Plaintiffs have not brought this Complaint in Interpleader at the request of

any of the Defendants. There is no fraud or collusion between Plaintiffs and any of the

Defendants. Plaintiffs bring this Complaint of their own free will and to avoid being

vexed and harassed by conflicting and multiple claims.

        WHEREFORE, Plaintiffs pray that the Court enter judgment:

        (a)       requiring the Defendants to answer this Complaint in Interpleader and
                  litigate their claims between themselves for the Death Benefit;

        (b)       requiring that the Defendants settle and adjust between themselves, or
                  upon their failure to do so, this Court settle and adjust the claims and
                  determine to whom the Death Benefit should be paid;

        (c)       permitting Plaintiffs to deposit the amount of the Death Benefit, plus
                  applicable claim interest, if any, into the Court or as this Court otherwise
                  directs to be subject to the order of this Court and to be paid out as this
                  Court shall direct;

        (d)       discharging Plaintiffs from any and all further liability to Defendants
                  relating in any way to the Death Benefit and/or the Policy upon payment of
                  the Death Benefit into the Registry of this Court or as otherwise directed
                  by this Court;

        (e)       enjoining the Defendants from instituting or prosecuting any proceeding in
                  any state or United States court affecting the Death Benefit and/or the
                  Policy;

        (f)       awarding Plaintiffs their attorneys’ fees and costs in their entirety; and

        (g)       awarding Plaintiffs any other and further relief that this Court deems just
                  and proper.




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        Dated this 6th day of February, 2014.


                                      THE PRUDENTIAL INSURANCE COMPANY OF
                                      AMERICA, AND HARTFORD LIFE AND
                                      ANNUITY INSURANCE COMPANY, Plaintiff,

                                      By: /s/Erin E. Busch
                                          Erin E. Busch (NE# 23307)
                                      of  BAIRD HOLM LLP
                                          1700 Farnam St Ste 1500
                                          Omaha, NE 68102-2068
                                          Phone: 402-344-0500




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        4.        Upon information and belief, Susan C. Peters ("Susan Peters") is the

Insured’s niece and a resident and citizen of Lincoln, Nebraska.

        5.        Upon information and belief, Five Points Bank, the Trustee of the Maxine

Bielfeldt Trust (the "Trust"), is a domestic bank chartered by the state of Nebraska and

registered as such with the Nebraska Secretary of State.

        6.        Upon information and belief, Dawn M. Stange ("Dawn Stange") is the

Insured’s granddaughter and a resident and citizen of Norfolk, Nebraska.

                                 JURISDICTION AND VENUE

        7.        This Court has jurisdiction under 28 U.S. C. § 1332, in that the parties are

of diverse citizenship and the amount in controversy exceeds $75,000.00. Prudential is

a New Jersey citizen for diversity purposes, Hartford is a Connecticut citizen for

diversity purposes, and upon information and belief, the defendants are citizens of

Nebraska.

        8.        Venue is proper in this federal district pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claim occurred in

this district. Venue is also proper in this Court pursuant to 28 U.S.C. § 1397 because

one or more of the claimants resides in this judicial district.

                           CAUSE OF ACTION IN INTERPLEADER

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proceeds of a life insurance policy issued by Hartford.

        10.       On or about October 10, 2002, Hartford issued individual life insurance

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the life of the Insured.

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        11.       Prudential subsequently became the administrator of the Policy.

        12.       By Change of Beneficiary form dated February 21, 2006, the Insured

designated Dawn Stange and the Trust as co-Primary Beneficiaries to the Policy, each

entitled to 50% of the Policy benefits.       A true and correct copy of the Change of

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February 10, 2010, is attached hereto as Exhibit C.

        15.       By Change of Beneficiary form dated February 25, 2010, the Insured

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        18.       As a result of the death of the Insured, Policy benefits in the amount of

$451,686.50 (the "Death Benefit") became payable to a beneficiary or beneficiaries and

liability is conceded to that effect.

        19.       By letter dated September 12, 2013, Five Bank Points, through Trust

Officer Theresa Starkey, informed the Hartford that the Policy’s beneficiaries of record

at the time of the Insured’s death may be disputed. A true and correct copy of the letter

dated September 12, 2013, is attached hereto as Exhibit F.

        20.       By letter dated October 21, 2013, Dawn Stange, through counsel,

asserted a claim to the Death Benefit, alleging that there may have been fraud or undue

influence exerted by Susan Peters in connection with the most recent beneficiary

designations. A true and correct copy of the letter dated October 21, 2013, is attached

hereto as Exhibit G.

        21.       There have been no other claims for the Death Benefit.           Under the

circumstances, Plaintiffs cannot determine factually or legally who is entitled to the

Death Benefit.        By reason of the actual or potential claims of the interpleading

defendants, Plaintiffs are or may be exposed to multiple liability.

        22.       Plaintiffs are ready, willing and able to distribute the Death Benefit, plus

applicable claim interest, if any, payable in accordance with the terms of the Policy to

whomever this Court shall designate.

        23.       As mere stakeholders, Plaintiffs have no interest (except to recover their

attorneys’ fees and cost of this action) in the Death Benefit payable and respectfully

request that this Court determine to whom said benefits should be paid.




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        24.       Plaintiffs accordingly will deposit with the Registry of the Court the Death

Benefit, plus applicable claim interest, if any, for disbursement in accordance with the

judgment of this Court.

        25.       Plaintiffs have not brought this Complaint in Interpleader at the request of

any of the Defendants. There is no fraud or collusion between Plaintiffs and any of the

Defendants. Plaintiffs bring this Complaint of their own free will and to avoid being

vexed and harassed by conflicting and multiple claims.

        WHEREFORE, Plaintiffs pray that the Court enter judgment:

        (a)       requiring the Defendants to answer this Complaint in Interpleader and
                  litigate their claims between themselves for the Death Benefit;

        (b)       requiring that the Defendants settle and adjust between themselves, or
                  upon their failure to do so, this Court settle and adjust the claims and
                  determine to whom the Death Benefit should be paid;

        (c)       permitting Plaintiffs to deposit the amount of the Death Benefit, plus
                  applicable claim interest, if any, into the Court or as this Court otherwise
                  directs to be subject to the order of this Court and to be paid out as this
                  Court shall direct;

        (d)       discharging Plaintiffs from any and all further liability to Defendants
                  relating in any way to the Death Benefit and/or the Policy upon payment of
                  the Death Benefit into the Registry of this Court or as otherwise directed
                  by this Court;

        (e)       enjoining the Defendants from instituting or prosecuting any proceeding in
                  any state or United States court affecting the Death Benefit and/or the
                  Policy;

        (f)       awarding Plaintiffs their attorneys’ fees and costs in their entirety; and

        (g)       awarding Plaintiffs any other and further relief that this Court deems just
                  and proper.




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        Dated this 6th day of February, 2014.


                                      THE PRUDENTIAL INSURANCE COMPANY OF
                                      AMERICA, AND HARTFORD LIFE AND
                                      ANNUITY INSURANCE COMPANY, Plaintiff,

                                      By: /s/Erin E. Busch
                                          Erin E. Busch (NE# 23307)
                                      of  BAIRD HOLM LLP
                                          1700 Farnam St Ste 1500
                                          Omaha, NE 68102-2068
                                          Phone: 402-344-0500




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